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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS



IAN GREENE,

              Plaintiff,

vs.                                              Civil Action No.: 10-CV-11099-NG

BANK OF AMERICA, N.A.,

              Defendant.


                            STIPULATION OF DISMISSAL

              The parties to the above-entitled action, pursuant to FRCP 41(a)(1)(ii),

hereby stipulate that the instant action be dismissed with without prejudice.


Dated: March 14, 2011                            Dated: March 14, 2011

THE ROSE LAW FIRM, PLLC                          REED SMITH LLP

By:s/ G. Christopher Gleason                     /s Joe Nguyen
G. Christopher Gleason, Esq.                     Joe Nguyen, Esq.
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Dated: March ___, 2011


_____________________________________
SO ORDERED




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                            CERTIFICATE OF SERVICE


      This is to certify that the undersigned has this date electronically filed and served

the foregoing Stipulation of Dismissal with the Clerk of the Court using the CM/ECF

system which will send notification of such filing in accordance with Rule 5 of the

Federal Rules of Civil Procedure.



Dated: Albany, New York
       March 14, 2011
                                                        By:s/ G. Christopher Gleason
                                                        G. Christopher Gleason, Esq.
                                                        The Rose Law Firm, PLLC
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